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 5
     Attorney for Defendant
 6   OSWALD GEORGNER
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 8
 9                                   IN THE UNITED STATES DISTRICT COURT FOR THE
10
                                                  EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA, )                   Case No. 1:13-cr-0362 AWI-BAM
                                   )
13               PLAINTIFF         )               WAIVER OF DEFENDANT’S
14   v.                            )               PRESENCE AT COURT
                                   )               HEARINGS; ORDER
15   OSWALD GEORGNER,              )
                                   )
16            DEFENDANT            )
17   ______________________________)

18
                       The defendant , OSWALD GEORGNER, hereby waives his right to be present in
19
     person in open court upon the hearing of any proceeding in this cause, including but not limited to,
20
21   arraignment, status conferences, pre-trial motions, requests for continuances, change of plea, trial and

22   imposition of sentence.
23           Defendant hereby requests the Court to proceed during his absence and agrees that his interes
24
     will be deemed represented at all times by the presence of his attorney Richard A. Beshwate, Jr., the
25
     same as if he were personally present. This request is made pursuant to Federal Rules of Criminal
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27   Procedures 43(c) (2) and (3). This waiver is being made because Defendant Oswald Georgner, has

28   been charged by criminal complaint.

                                                         1
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 1   Defendant acknowledges that he has been informed of his rights under 18 U.S.C. §§316-3174 (Speedy

 2   Trial Act), and authorities to set times and delays under the Act without the defendant being present.
 3
 4
                                    /s/ Oswald Georgner________________
 5                                         OSWALD GEORGNER
 6   Date: November 1, 2013
 7
 8                                 Respectfully submitted,
                                   LAW OFFICE OF RICHARD A. BESHWATE, JR.
 9
10                                 By: /s/ Richard A. Beshwate, Jr
                                   RICHARD A. BESHWATE, JR.
11                                 Attorney for Defendant OSWALD GEORGNER

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                                                 *********
13
14                                                  ORDER

15
            GOOD CAUSE APPEARING, it is hereby ordered that the defendant’s appearance may be
16
17   waived upon the hearing of any non-dispositive proceeding in this cause, including but not limited to,

18   status conferences, pre-trial motions, and requests for continuances.      While defendant waives his

19   appearance because he “has been charged by criminal complaint,” Defendant previously was arraigned
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     on an Indictment an October 7, 2013 in this Court. The Court construes the waiver as pertaining to
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     waiver of appearance, for conferences and pre-trial motions, post-arraignment on the Indictment.
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23
     IT IS SO ORDERED.
24
25      Dated:     November 4, 2013                           /s/ Barbara A. McAuliffe              _
26                                                     UNITED STATES MAGISTRATE JUDGE

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